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                EXHIBIT D
                     Case 4:25-cv-04075-HSG                                                                     Document 37-5                                                 Filed 05/28/25                                  Page 2 of 8



   !lt-U~flll'!l1-\;o!l : 91330200MA2AHN2244                                                                    ~li'i : 021-68009217 ii!;;< 3
   itilE1-\;~ A : lili:s:Jc tl'l,~tt 18                                                                         m!ffi : Xiayu_Wang @sgssemi.com ii!;;< 2                                                                    ll?:H!li0: ,Jllj', S
   i±flflil't'i< : 12222.005275~ 7i;                                                                            11i'lii!I : 0 https://www.sgssemi.com                                                                       1¥\IAJlt: 50 (2022ljc) v
   /ilo11:Bll/l : 2018-03-22                                                                                    il!ll.tl: : il/iiI'i!i'TilvPi<Jt!JIE!i'itt ~i!ill'ft iii,;U
   miil': 0.ll!sllll~M.lJC~j;ji~\1Uil.!!l1'fff.llllll/Ji, i&~- 3<~- !i!Alil.!i!J@i ; ~i;j~ al;ff.};rf;it, ;ff')il.!i!J@i ; lilslil-,,i±'F~i;j~al;ff.Jff&-l!J!i!J@i, M{~j;j~J .. Jl.ff

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                                                                                                    368                                                               8                           0



Basic Information 143                               Legal Proceed ings 7                   Operationa l ri sk               Business Information                                    Enterprise                 Intellectual Property            Hi storical information

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 Enterprise Atlas Shareholding structure chart Equity Penetration Chart Relationship Graph Related Party Identification Diagram


 Business information                                                                                               Eil Textual introduction               i:;J Snapshot of the official website of industry and commerce>                                ~ ~'§''§'

  Unified social credit                                                                                The name of the bu
  code                                          91330200MA2AHN2244                                     siness                            Shengjisheng (Ningbo) Semiconductor Tech nology Co., Ltd


                                                                                                       Registrati on status                                                                           Date of Establishme
                                                                                                                                         Existence CD
                                                                                                                                                                                                      nt                        2018-03-22
  legal re presentative                                      Xiang Xifei
                                                             ~ Affiliates 18
                                                                                                       Registered capital
                                                                                                                                         $122,220,0052                                                Paid-up capital           $89,276,601 CD


                                                                                                       Industrial and com
  Organization code                                                                                                                                                                                   Taxpayer identificati
                                                                                                       mercial regi stration
                                                 MA2AHN22-4                                                                                                                                           on number                 91330200MA2AHN2244
                                                                                                       number


                                                 Limited Li ability Company (Si no-I                   Period of bu siness                                                                            Taxpayer qualificatio
  Type of business                                                                                                                       2018-03-22 reach 2068-03-21                                                            General VAT payer
                                                oreign Joint Venture)                                                                                                                                 ns

                                                                                                       Number of insured pe
                                                                                                       ople                              50    (2022 annual report). (iii
  Size of staff                                  50-99 people                                                                                                                                         Date of approval
                                                                                                       Number of insured pe                                                                                                     2023-12-22
                                                                                                                                         1 (2022 Annual Report). (iii
                                                                                                       ople in branches

                                                Yinzhou District, Ningbo City, Zhe                     Registration Authori              Ningbo Municipal Administratio                               Import and export e
  Region
                                                jiang Province                                         ty                                n for Market Regulation                                      nterprise code            3302MA2AHN224


                                                 Engineering and Technological
  National standard in                                                                                                                   Shengjisheng (Ningbo) Semiconductor Technology Co., Ltd. (Automatic translation updat
                                                 Research and Experimental Dev v                       English name
  dustry                                                                                                                                 e).
                                                elopment (M7320).

  Registered address
                                                    Enterprises near Shiqiao Village, Yunlong Town, Ningbo City, Zhejiang Province


  Mailing address
                                                 10th Floor, Building 1, Reed Smith International, 1158 Zhangdong Road, Pudong New Area, Shanghai, Shanghai                                                               (2022 Annual Report),

                                                 refurbishment, transformation, installation, maintenance and sales of second-hand semiconductor equipment and accessories; R&D, production and
                                                 sales of semiconductor equipment; technical services for semiconductor production and R&D equipment; import and export of goods and
  Scope of business                             technologies on their own or as an agent, except for goods and technologies that are restricted or prohibited by the state; Technical development,
                                                 production, sales and consulting of semiconductor-related functional materials, devices, accessories and related products. (For projects subject to

                                                approval in accordance with the law, business activities can only be carried out after approval by relevant departments)




 Shareholder Information CD                                           F:. Shareholding structure

 Shareholder Information 36                                  Historical Shareholder Information 1                Historical shareholder mirror9
                                                                                                                                                     Type of sha.,. T                     The amoun ... ....-           CD Shareholdi...    T        Q Click to search

 serial number                                      Name of shareholder                             Shareholding ratio           Subscribed Capital Contribution (US$10,000)                                  Date of subscribed capital contribution          Date of first shareholdin

                                                Tianjin Jisheng Management                   ••
                                                Consulting Partnership                                                - (9                                                                            1300                    2049-12-31                                 2019-10-09
                                                (Limited Partnership)
     Case 4:25-cv-04075-HSG                                             Document 37-5   Filed 05/28/25   Page 3 of 8
                       Semiconductor International              'E':.
2                                                                         - (9              1016.6667    2021-06-30
                       Holdings Limited


                      Ningbo Core Space Shengxin                'E':.
                      Venture Capital Partnership
3                                                                         - (9               913.3373    2021-06-30    2021-04-13
                      (Limited Partnership)
                       The company name has been updated



                       TRIPLECORES KOREA CO.,LTD.
4                                                                         - (9               847.2223    2021-06-30    2018-09-29
                        Korea


                       Shanghai Xinyang                         'E':.
                       Semiconductor Materials Co.,
5     +    ][                                                             - (9               722.1553    2021-06-30    2020-06-18
                       Ltd
                        GEM (300236)


                       Xinxin Financial Leasing Co.,            'E':.
6     + tffl ~.l!I~                                                       - (9                576.267    2021-06-30    2018-09-29
                       Ltd


                       Qingdao Jixing Equity                    'E':.
                       Investment Partnership
7                                                                         - (9              405.0903     2021-06-30    2021-04-13
                       (Limited Partnership)
                        Private



                       Shanghai Juyuan Juxin                    r:.
                       Integrated Circuit Industry
8                      Equity Investment Fund                             - (9               275.3372    2021-06-30    2020-06-18
                       Center (Limited Partnership)
                        Private



                       Yangzhou SMIC Xicheng                    r:.
                       Xingsheng Venture Capital
9                      Partnership (Limited                                                                            2022-10-31
                       Partnership)
                        Private


                       Mingyuan (Suzhou) Venture                'E':.
                       Capital Center (Limited
10                                                                                                                     2023-12-22
                       Partnership)
                        Private


                       Suzhou Qingzhou Park                     'E':.
                       Fengxinyuan Venture Capital
11                     Partnership (Limited                                                                            2022-10-31
                       Partnership)
                        Private


                       Gongqingcheng Times                      'E':.
                       Dingtong Equity Investment
12                     Partnership (Limited                                                                            2023-12-22
                       Partnership)
                        Private


                       Core Space Juyuan (Shaoxing) 'F:.
                       Integrated Circuit Industry
                       Equity Investment Fund
13                                                                                                                     2023-12-22
                       Partnership (Limited
                       Partnership)
                        Private



                       Jiangsu Ruixin Tongning                  r:.
                       Semiconductor Industry
14                     Investment Fund Partnership                                                                     2023-12-22
                       (Limited Partnership)
                        Private



                       Jiaxing Dinghang Zhixing                 'E':.
                       Venture Capital Partnership
15                                                                                                                     2023-12-22
                       (Limited Partnership)
                        Private



                       Changsha Xisheng Venture                 r:.
16                     Capital Fund Partnership                                                                        2023-12-22
                       (Limited Partnership)


                       Hangzhou Xinxin Equity                   'E':.
                       Investment Partnership
17                     (Limited Partnership)
                                                                                                                       2022-10-31

                        Private


                       ;Ji!;~EM\ffi!JJM!ilt'll'~01'J ,.
18    + (!) NT                                                                                                         2023-12-22
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19                                                                        - (9                                         2021-11-29
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                Case 4:25-cv-04075-HSG                                            Document 37-5          Filed 05/28/25      Page 4 of 8
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         20                    ~€itk)                                                                                                                  2022-10-31
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                               mJil';B;i<1:i~tkl1:~ ('/l"~ 'E':.
         21                                                                                                                                            2022-10-31
                               €;ti()


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         22                    11:~ ('/l"!Ji!i"'itk)                                                                                                   2023-12-22
                                fAQJi):


                               l31i~IIJl!iJll;B;~LlU~mJ<~i!,!;~ 'E':.
         23                    €itkl1:~ ('ll"!li!€itk)                                                                                                 2022-10-31
                                fAQJi):


                               J:.iliiiliilill~I!IF/i'i1il€itkl1:ft ('/l" 'E':.
         24                                                                        -CS'                                                                2021-11-29
                               ~€itk)

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         25                    ~€;-tk)                                                                                                                 2022-10-31
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         26                     ('/l"!Ji!€itk)                                                                                                         2022-10-31
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         27                    ~€itk)                                                                                                                  2023-12-22
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         28                    11:~ ('/l"!Ji!€itk)                                                                                                     2023-12-22
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         29                    ~€itk)                                                                                                                  2023-12-22
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         30                    11:~ ('/l"!Ji!€itk)                                                                                                     2022-10-31
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         31                      ('/l"!Ji!iStk)                                                                                                        2023-12-22
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         32                    J:.ifii~'ll"!Ji!~jjj ••                                                                                                 2023-12-22


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         36                      ('/l"!Ji!€itk)                                                                                                        2023-12-22
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    4               cEiJIB t110                                                                   ff                                       ljejffi
              Case 4:25-cv-04075-HSG                                                  Document 37-5                                      Filed 05/28/25                                   Page 5 of 8
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    8                ~ll)iJgj t,12                                                                                       JJ!,i}Ji~±l'il'


    9                ru.:                                                                                                     ~



   10                KONG JAE YOUN                                                                                            ~




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                   jj']                                               IH I 2022-01-26                 100%           1sooonM~ffi                    100%
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                   !llla!lll~M& <5'cmJ '!l"!l!2} r.                                                                                                                                             W,,,li/mf!l&
   3
                   jj']                                               IM I 2021-11-18                 100%            70001.i":n;A~ffi              100%              lIS'i!l:Hrn
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                   jj']                                               IH I 2021-03-10                 100%            60001.i":n;A~ffi              100%              ~~~I&
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   7               imaimm!!'lu Wei 'll"!l!2}jj'] r.                   IH I 2022-12-05                 36%             21601.i":n;A~ffi
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   8               &_tWffl& (i):i;/iil '/l"!,!2}jj'] r.               IH I 2017-12-22              29.3604%           18441.i":n;A~ffi
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  ~                         MJ~~,gf(i;                                'ij;;ii!;       PMIElJIJl                      p/ifrlii1!!18:

                   !llla!lll~&* cun                     F:.
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                              ~~!fflA~\\l-~(~$,Jl!a$, ffil~)                                                                                                  !(11:'8: KIM IK NYUN; liEl'!c'%!l: ••••••; JlR{l,: '11:;Jl
           2024-04-28                                                                  li't'8: KIM IK NYUN; liH'i'~!½: ••••••; lllllfz: ff
                              llffi"'ma(f.J;/;Ji:lilE!WA
                                                                                       li't'8: KONG JAE YOUN; liEl'i'~!i!½: ••••••; llH/fz: Ji!a;J            ~ : KONG JAE YOUN; liE/4~: ••••••; JlR{l,: Ji!a;J
                                                                                       li't'8: .lt~)Jill; liEl'!c~fi!½: ••••••; llHf:lL: ff
            Case 4:25-cv-04075-HSG                                           Document 37-5                                      Filed 05/28/25                                     Page 6 of 8
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          2023-12-22        ff~~                                                                                                                          ~Jll~lslffi1IE~.

                                                                             ~ft,"';~: TRIPLECORES KOREA CO.,LTD.; llim11ll: **                           ~ill!,"';~: TRIPLECORES KOREA CO.,LTD.; llimWi: **
                                                                             *.****E; B£-tt;: *.****%                                                     *.****E; B:Stt;: *.****%
   4      2023-12-22
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                            ~~!fflA.~~~<ii$,m$, ffil~J                       ii,"';: KIM IK NYUN; liEf't~!a: ••••••; l!Rifz: ifi)jl                       i1,"';: KIM IK NYUN; lil:f't'%!l: ••••••; l!Rffi: 'lilll
          2023-05-25
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                                                                             ii,"';: KONG JAE YOUN; liH't~li!a: ••••••; llRifz: ~)Jl                      i1,"';: KONG JAE YOUN; fili't~: ••••••; l!Rffi: ~
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   8      2022-10-31        J±ffllil'Pl<~ (J±llllti, tim.i~l

   9      2022-10-31        ff§~


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                                                                             *.****E; B:Stt;: **.****%                                                    *.****fl; B:Stt;: *.****%
                            ~m.M>:~<filfflllim!l!li,llimn~, llima
   10     2022-10-31                                                         ~ft'i"'i~: ;Ji;l!limlllffl.1"ll1~4isJ; llill't!l!li: ***.****                ~ill!,"';~: ;Js;i!mffl.ll.~!ii!Jl,f¥4isJ; lliH: •••.••••
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           20224Ui!r                                  202141Jflai!r                        20204lllai!r                                    20194Ui!r                                         20184Ui!r
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Ii1U1!1::t~'m20
~llillfflU!l 10                                                                                                             ~ffi!il.Ell~~illJHll:, ~ill!m.;*l!ll1l~rut:fct il;J;l;ttfftl!, (@ fE :gf :gf

                                                                                  ~llltb~~J               l.A!tllill'!Wi(JJ:,;,:,cJ    l,.\.ijj(llimBJtll            ~ijj(llill'tfll[(JJ~)     ~llill'!BJtll        i:i,g

                                                                                                                  1016.6667            2021-11-29                        1016.6667              2021-11-29          ~m
   2      TRIPLECORES KOREA CO.,LTD.                                                                              847.2223             2021-11-29                         847.2223              2021-11-29          ~lffl

                                                                                                                  847.2223             2021-11-29                         847.2223              2021-11-29          ff1ffi

                                                                                                                  833.3333             2021-11-29                         464.7657              2021-11-29          ~m
                                                                                                                  722.1553             2021-11-29                         722.1 S53             2021-11-29          ~m
                                                                                                                  677.7778             2021-11-29                         677.7778              2021-06-29          lllffl

                                                                                                                   583.33              2021-11-29                          583.33               2021-11-29          ~m
   8      x,l!,s!illM©iiiJ;<sf)l(~ill!(ll"m,i;<sti:J r.                                                             500.0              2021-11-29                             0                 2021-11-29          ~m
                                                                                                                  405.0903             2021-11-29                         405.0903              2021-11-29          ,im
   1o     :i<~Eil2fl©iii!;<sf)l(~ill!(ll"ITT,!;<stl(J ••                                                          376.9231             2021-11-29                         376.9231              2021-11-29          ~m
ll!!elilffi8. 10                                                                                                            *ffi!ll.Ell*~ill.l.f!t ~ill!xsrn:*l!ffi!ll.ll9rui;tct il:l;i;ttfftl!, C@ fE :gf :gf

                                                     lllt*(ruM)                                                    ~ilulHt&b~f?tl            ~IHt&b~f?tl                       IHt&5".~BJtll             i,.'ir-Bllll
                 Case 4:25-cv-04075-HSG                                                              Document 37-5                                        Filed 05/28/25                                     Page 7 of 8
               _cH!B~~mil-ll!tfil'!!l"PJ.0,aJ ••                                                                                            12.8969%                               10.6048%              2021-11-29                2022-06-10


    2          ~.11is~tl<l.lt'!>l'€if)l(~!ll!C'i!l"~€itkl r.                                                                                 7.2345%                               5.9487%               2021-11-29                2022-06-10


    3          ~;t'!>l'ffl~'!!l"~f:E0,aJ r.                                                                                                 15.1304%                               12.4414%              2021-11-29                2022-06-10


    4          ':i"iEi:;Js;~fiiJ!ill;Js;l.lt'/,l't>;f)l(~!ll!C'!!l"PJ.€itl:l ••                                                             12.1043%                               9.9531%               2021-11-29                2022-06-10


    5          TRIPLECORES KOREA CO.,LTD.                                                                                                   15.1304%                               12.4414%              2021-11-29                2022-06-10


    6          _t/l!jl1i/6;B;UE§ffi'f"ffltl<l.lt'i>l'~~q,,c,,('!!l"pJ.t>;tk) ••                                                             10.4176%                               8.5661%               2021-11-29                2022-06-10


    7          5':l$s~l§'ili!€itl:~!ll!c'!!l"~€itkl r.                                                                                            0%                               12.2374%              2021-11-29                2022-06-10


    8          q,;Js;lialrif-f21l!t'!!l"~0,aJ r.                                                                                            18.1565%                               14.9296%              2021-11-29                2022-06-10


    9          x;$s~Ul§'ili!OO~!ll!C'!!l"~€itkl r.                                                                                                0%                               5.5351%               2021-11-29                2022-06-10


   10          x;$s!illU©ili!€if)i(~!ll!C'i!l"~€itkl r.                                                                                      8.9294%                               7.3424%               2021-06-29                2022-06-10




lf.>ll,)6!i. (i)                                                                                                                                                                                                                      ~ :;:£~~



                                                                                                           !nliilB ~m& >
                                                                                                      .oJG:l;JSVIP~vl. lllloJ'ffltti}le]ll!t,":f-


                                                                                   3l'jcSVIP                           2l'jcSVIP                                     1l'jcSVIP
                                                                                   ¥3600                              ¥3600                                        ¥1800
                                                                                  ~~3.28,c                          fi!,<cf)l,~4.93,c



                                                                                                                     ll~P7flffi
                                                                                                                    'itt-:tf.aefllH




                                                                  ,..,
                                                                         -
                                                               IM'illlltl'f- 49

                                                                                    fl)iclflil'f..

                                                                                                                                   tliJIJNii:Hli!HilllWii.l T:.
                                                                                                                                   El~l;JJI!: 60%       l'/>[!)/1!!$M'/I!! 35%       #JtlMfli: 95%

                                                                                                               21                  tl:9111Jit"mlli5l:!9:i!HiAH}5.I l:.
                                                                                                                                   El §-IHI.: 45%        Wllil/l!!JF-l~/1!!: 15%   #Foll~/!!!: 60%

                                                                                                                             ··I!'">




lff~11                                                                                                                                                                                    ~•.t~l\1'~!!!! ~    Q ,¢.lmillli'!tt        ~ :;:£~~

  ~                                         ~!ll!i"'.fiil                            ;'/i~fWA/:fl!,l;A                 i±6*                            JJ1ul:Bll/l                 !l;!iC~~;li:,!l!!            ~~~l$1ffi

               !ills!ill~~t\:;tt c_ti!ilJ 'll"!J.0,a]                                lili'5:JlS                 150001.i'Ji;A~ffi                   2022-01-26                       !!llelE§il'i      021-68009217


                                                                                                                                                                                                       021-68009217
    2          !ills!illffl~>ls (?;&) '!!l"PJ.0,aJ                                   lili'5:JlS                     60001.i'Ji;A~ffi                2020-10-12                       !!lleJE§il'i
                                                                                                                                                                                                       0574-68827930


    3          _t;!iltt#Ul§'ili!OO~!ll! ('i!l"!J.€itl:l                              -MBJliEi:                      20001.i'Ji;A~ffi                2020-01-06                       !!llelE§il'i      18049722940


    4          _tJliE::.l11ll.lt'i>l'U'!!l"PJ.0,aJ                                   'fiJ,ffl                       1000JJJi;A~ffi                  2015-08-26                       !!llelE§il'i      18049722940


    5          _tJ1!!s33>1:itf~j(JffipJ.0,aJ                                         -MBJliEi:                      5101.i'Ji;A~ffi                 2011-06-14                       !!lleJE§il'i      18049722940


    6          5/}j<,a]~~" (_tJl!j) 'j!j"ji,0,a]                                     IK NYLIN KIM               360.031.i'Ji;A~ffi                  2009-03-10                       !!lleJE§il'i      021-68009217


    7          _tJtmnitf~RPJ.0,aJ                                                   iiiJii~                         3001.i'nA~ffi                   2014-09-18                       !!lleJE§il'i      18049722940


                                                                                                                                                                                     !!llelE§il'i      18049722940
    8          !ills!ill c_tll!!J >t<-1,,iffi.N'!!l"ii.0,aJ                          lili'5:JlS                     3001.i'nA~ffi                   2019-08-20
                                                                                                                                                                                     !!llel~llffi      Ann jin@sgssemi.com


    9          liiiil'iDZ:ftf~lffi (_c;!il) '!!l"PJ.0,aJ                             l!!I~*"                        1001.i'nA~ffi                   2020-06-18                       !!llelE§il'i      18049722940


   10          ~□$~>1:iti~j(JffiPJ.0,aJ                                              1!1!/li'&                      1001.i'nA~ffi                   2015-04-14                       !!lleJE§il'i      18049722940



                                                                                                                                                                                                                               ~ 2                    >




llU.1!13-tlr


                                 ii<:!1':B'F IIIMiitnlll:liil ► , ~llllelfi:!1':~ 152Eli! ;                                                   ii<:!1':H'F I I I M ~ ► , :$Cl!, GlfilIJ lelfi:!1':~ 8Eli!;
                                 ii<:!1':ili±Jlffi!!*T!l 12222.0052Jj"fi, il!fil~lail 99% ~lelfi:!1':~.                                       ii<:!1':fu'±lllli!!:$CT!J 12222.0052:Jj"fi , il!ll1:$C'i!i 99% ~leli'i11':~.

                                                                                                     ,i:llr.lffl!!llYllll>citt                                                                                       ll>t!lr.linllil:EIIIB!ill>cilt
                                                         40                  60                                                                                          40                60
             Case 4:25-cv-04075-HSG                      Document 37-5
                                                             ;;lV)Ja,,.Ar.l                                    Filed 05/28/25                         Page 8 of 8
                                                                                                                                                                ;;lV)Ja,,.J.r.J

                                                             50-100}J                  10.77%                                                                   50-100}J             10.9%
                          20                                 100-500}J                 37.92%                 20                                                100-500}J          36.76%
l!'!Am~B1ll!l
                                                             500-1000}J                13.15%                                                                   500-1000}J         10.64%
                                                             1000-5000}J               17.35%                                                                   1000-5000}J        21.96%
                      0                        00      JH'   5000J'il:U:                   3.89%                                                 00    /lil'f   5000J'i~.U:          4.61%

Jt!!J,!~lp




         ?iBi;><'ill~Jl~t.l(...                                               llfu'IflelJHld~~lll!%!1,!. ..         ?BLIJf~Hil.miz:ffi??.\...                     ?;~1/,/lljJ~t';tkll':~...
         lt'jij:JE                                                            *~/j\}j)t                             ,llru];§                                      ~:z:
         llliUJJi!!U00%!1i!. ..   ?iJw;!;!;fi%""~1,J                          ?l&ffl~i"'~l!l!%!1i!...               ?1&12!;Js:;mJW€!1ill9:ill:.. .                WiU'IW!i9'1s5':fr.i!ffi'!li!...
         ri'illi'ill              pjl~                                        1.,1/,;ti;                            q,f=WJil>J (~Si,) 11':~.. .                   00
